      Dated: 3/23/2017




 IN THE UNITED STATES BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF TENNESSEE


RE:                                                )
                                                   )          CHAPTER:             7
DAINON TARQUINIUS SIDNEY                           )          CASE NO.:            16-05506
SSN: XXX-XX-7845                                   )          JUDGE:               HARRISON
605 LAKEMEADE POINTE                               )
OLD HICKORY, TN 37138                              )
                                                   )
  Debtor.                                          )

            ORDER STRIKING DEBTOR’S MOTION TO REOPEN CHAPTER 7 CASE

       THIS MATTER CAME BEFORE THE COURT on March 7, 2017, upon the Objection to the

Debtor’s Motion to Reopen Chapter 7 Case. Good cause having been shown, it is hereby ORDERED that

the Debtor’s Motion to Reopen Chapter 7 Case shall be STRICKEN.



       IT IS SO ORDERED.

                                                  THIS   ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                                                  INDICATED AT THE TOP OF THE FIRST PAGE.




APPROVED FOR ENTRY:


/s/ Alex Koval
Alex Koval
ROTHSCHILD & AUSBROOKS, PLLC
Attorney for Debtor(s)
1222 16th Avenue South, Suite 12
Nashville, TN 37212-2926
(615) 242-3996 (telephone)
(615) 242-2003 (facsimile)
notice@rothschildbklaw.com




                                                                           This Order has been electronically
                                                                           signed. The Judge's signature and
                                                                           Court's seal appear at the top of the
                                                                           first page.
                                                                           United States Bankruptcy Court.

Case 3:16-bk-05506       Doc 24    Filed 03/24/17 Entered 03/24/17 08:11:34                       Desc Main
                                   Document     Page 1 of 1
